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Peter Bornstein

From: Bill S <bill@bmails.biz>

Sent: Thursday, May 23, 2019 2:15 AM
To: Peter Bornstein

Subject: Fwd: Plea Testimony
Importance: High

This is me asking Winocur to revise my plea testimony. As the judge pointed out.......

Begin forwarded message:

From: William Sears <wjsears66@icloud.com>
Subject: Fwd: Plea Testimony

Date: March 15, 2018 at 10:30:43 AM MDT
To: pbornstein@prblegal.com

Begin forwarded message:

From: William Sears <wjsears66@icloud.com>

Subject: Plea Testimony

Date: May 21, 2017 at 12:23:38 PM MDT

To: Fred Winocur <winocur@ridleylaw.com>, Marci Gilligan LaBranche <labranche@ridleylaw.com>

Fred/Marci,

I want to clarify on thing on this.

I failed to properly disclose my affiliation status

which enabled me to have access to free trading securities.
I then liquidated those free trading securities into the
public markets for a profit and failed to report that

profit on my personal income tax, sir.

Here is what I want it to be. If we need to go to court so beit. As It is now is factually incorrect and I want it right. Do what you have to do to get
right for the record. Please see below.

I failed to properly disclose my affiliation status due to incorrect advice from council which enabled me to have access to free trading securities. I
then liquidated those free trading securities into the public markets for a profit and failed to report that

profit on my personal income tax, sir.
I! be in all this week on those tapes also.

Billy

EXHIBIT

tabbles
